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                 UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                       DOCKETING STATEMENT--CIVIL/AGENCY CASES

        Directions: Counsel must make a docketing statement (civil/agency) filed entry in CM/ECF
        within 14 days of docketing of the appeal, or within the due date set by the clerk=s docketing notice,
        whichever is later. File with the entry the (1) docketing statement form with any extended answers
        and (2) any transcript order form. Parties proceeding pro se are not required to file a docketing
        statement. Opposing counsel who finds a docketing statement inaccurate or incomplete may file any
        objections within 10 days of service of the docketing statement using the ECF event-docketing
        statement objection/correction filed.

         Appeal No. & Caption             23-2133 Bailey v. Mercury Financial, LLC

         Originating No. & Caption 8:23-cv-00827 Bailey v. Mercury Financial, LLC
         Originating Court/Agency         U.S. District Court for the District of Maryland


         Jurisdiction (answer any that apply)
         Statute establishing jurisdiction in Court of Appeals             9 U.S.C. § 16

         Time allowed for filing in Court of Appeals                      30 days

         Date of entry of order or judgment appealed                       09/26/2023

         Date notice of appeal or petition for review filed                10/24/2023

         If cross appeal, date first appeal filed
         Date of filing any post-judgment motion
         Date order entered disposing of any post-judgment motion
         Date of filing any motion to extend appeal period
         Time for filing appeal extended to
         Is appeal from final judgment or order?                           F Yes               F No
         If appeal is not from final judgment, why is order appealable?
         It is an order denying a motion to compel arbitration, which is appealable under 9 U.S.C.
         section 16(a).



         Settlement (The docketing statement is used by the circuit mediator in pre-briefing review and
         mediation conducted under Local Rule 33. Counsel may make a confidential request for mediation by
         calling the Office of the Circuit Mediator at .)

         Is settlement being discussed?                       F Yes                     F No



        1/28/2020 SCC
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         Transcript (transcript order must be attached if transcript is needed and not yet on file)
         Is transcript needed for this appeal?                 F Yes                      F No
         Has transcript been filed in district court?          F Yes                      F No
         Is transcript order attached?                         F Yes                      F No


         Case Handling Requirements (answer any that apply)
         Case number of any prior appeal in same case
         Case number of any pending appeal in same case
         Identification of any case pending in this Court or See below
         Supreme Court raising similar issue
                                                             If abeyance or consolidation is warranted,
                                                             counsel must file an appropriate motion.
         Is expedited disposition necessary?                       F Yes                    F No
                                                                   If yes, motion to expedite must be filed.
         Is oral argument necessary?                               F Yes                    F No
         Does case involve question of first impression?           F Yes                    F No
         Does appeal challenge constitutionality of federal        F Yes                    F No
         or state statute in case to which federal or
                                                                   If yes, notice re: challenge to
         state government is not a party
                                                                   constitutionality of law must be filed.


         Nature of Case (Nature of case and disposition below. Attach additional page if necessary.)
         The complaint in this case is a putative class action brought by a consumer against credit card
         servicing companies, alleging violation of Maryland licensing law. The defendant moved to
         compel arbitration because the cardholder agreement between the issuing bank and plaintiff
         calls for arbitration. The plaintiff argued that the cardholder agreement was illusory and no
         contract was ever formed because the contract gave the defendant the right to amend the
         contract with notice only "as required by law." The court agreed with the plaintiff and denied
         the motion to compel arbitration.
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         Issues (Non-binding statement of issues on appeal. Attach additional page if necessary)

         The issue on appeal is whether the district court erred by denying the motion to compel
         arbitration. Properly viewed, the contract is enforceable, and in any case, the question of
         whether the provisions requiring arbitration are enforceable should have been sent to the
         arbitrator in the first instance.

         Currently pending in this court, cases 23-2047 and 23-2049 present the same issue. Those
         cases have all separate parties from this case, and were decided by a different district judge
         in different case numbers in the District of Maryland. The court in this case agreed with and
         followed the rulings on appeal in 23-2047 and 23-2049.




         Adverse Parties (List adverse parties to this appeal and their attorneys; provide party=s address if the
         party is not represented by counsel. Attach additional page if necessary.)
         Adverse Party: Angelita Bailey                        Adverse Party: Angelita Bailey


         Attorney: Benjamin H. Carney                          Attorney: Richard S. Gordon
         Address: Gordon, Wolf & Carney                        Address: Gordon, Wolf & Carney
                     100 W. Pennsylvania Ave., Suite 100                   100 W. Pennsylvania Ave., Suite 100
                     Towson, MD 21204                                      Towson, MD 21204


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         Phone: (410) 825-2300                                 Phone: (410) 825-2300

         Adverse Parties (continued)
         Adverse Party:                                        Adverse Party:


         Attorney:                                             Attorney:
         Address:                                              Address:




         E-mail:                                               E-mail:

         Phone:                                                Phone:
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         Appellant (Attach additional page if necessary.)

         Name: Mercury Financial, LLC                        Name: Mercury Financial, LLC


         Attorney: Matthew A. Fitzgerald                     Attorney: Melissa O. Martinez
         Address: McGuireWoods LLP                           Address: McGuireWoods LLP
                   Gateway Plaza                                       500 East Pratt Street, Suite 1000
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         Phone: (804) 775-4716                               Phone: (410) 659-4432

         Appellant (continued)
         Name:                                               Name:


         Attorney:                                           Attorney:
         Address:                                            Address:




         E-mail:                                             E-mail:

         Phone:                                              Phone:


                    /s/ Matthew A. Fitzgerald
         Signature: ____________________________________                             11/3/2023
                                                                          Date: ___________________

         Counsel for: _____________________________________________________________
                      Appellant


         Certificate of Service (required for parties served outside CM/ECF): I certify that this
         document was served on ____________ by [ ] personal delivery; [ ] mail; [ ] third-party
         commercial carrier; or [ ] email (with written consent) on the following persons at the
         addresses or email addresses shown:




         Signature:                                         Date:
